UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 UNITED STATES OF AMERICA,                                    :
                                            Plaintiff,        :   18 Crim. 340 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 SOHRAB SHARMA et al.,                                        :
                                            Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by Order dated June 3, 2022, the Government was directed to correct

certain information on the remission website and file a letter by June 10, 2022, confirming that

the correction had been made.

        WHEREAS, the Government has not filed a letter confirming that the correction was

made. It is hereby

        ORDERED that by June 15, 2022, the Government shall file a letter confirming that it

corrected the website pursuant to the Court’s June 3, 2022, Order.

Dated: June 13, 2022
       New York, New York
